                 Case 20-30201                    Doc 2          Filed 02/26/20 Entered 02/26/20 15:20:00                Desc Main
                                                                    Document    Page 1 of 5

                                                         UNITED STATES BANKRUPTCY COURT
                                                        FOR THE MIDDLE DISTRICT OF GEORGIA

 DEBTOR                                                                       *   Chapter 13
 Quoneshia Latrice Hill                                                       *   Case No.

                                                                                    Check if this is a modified plan, and list below the sections of
                                                                                     the plan that have been changed.
 Original Plan


                                                                        CHAPTER 13 PLAN
                                                            MIDDLE DISTRICT OF GEORGIA
                                                                     (NOT OFFICIAL FORM 113)

Part 1: Notices


To Debtors:             This form sets out options that may be appropriate in some cases, but the presence of an option on the form
                        does not indicate that the option is appropriate in your circumstances. Plans that do not comply with local
                        rules and judicial rulings may not be confirmable.

                        In the following notice to creditors and statement regarding your income status, you must check each box that
                        applies.

To Creditors:           Your rights may be affected by this plan. Your claim may be reduced, modified, or eliminated.

                        You should read this plan carefully and discuss it with your attorney if you have one in this bankruptcy case. If you
                        do not have an attorney, you may wish to consult one.

                        If you oppose the plan’s treatment of your claim or any provision of this plan, you or your attorney must file an
                        objection to confirmation at least 7 days before the date set for the hearing on confirmation unless otherwise ordered
                        by the Bankruptcy Court. The Bankruptcy Court may confirm this plan without further notice if no objection to
                        confirmation is filed. See Bankruptcy Rule 3015. In addition, you may need to file a timely proof of claim in order
                        to be paid under any plan.

            The following matters may be of particular importance to you. Debtors must check one box on each line to state
            whether or not the plan includes each of the following items. If an item is checked as “Not Included” or if both boxes
            are checked, the provision will be ineffective if set out later in the plan. Any nonstandard provisions placed in any
            part other than Part 6 are void.

          1.1          Limit the Amount of a Secured Claim: The plan seeks                Included                     Not Included
                       to limit the amount of a secured claim, as set out in Part
                       3, Section 3.5, which may result in a partial payment or
                       no payment at all to the secured creditor.
          1.2          Avoidance of Liens: The plan requests the avoidance of             Included                     Not Included
                       a judicial lien or nonpossessory, nonpurchase-money
                       security interest as set out in the Nonstandard
                       Provisions Part 6.
          1.3          Nonstandard Provisions: The plan sets out                          Included                     Not Included
                       Nonstandard Provision in Part 6.

         1.4 Income status of debtor(s) as stated on Official form 122-C1

         Check One:



GAMB Form 113 Fillable PDF 10/9/2019

Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                Best Case Bankruptcy
                 Case 20-30201                    Doc 2          Filed 02/26/20 Entered 02/26/20 15:20:00          Desc Main
                                                                    Document    Page 2 of 5

             The current monthly income of the debtor(s) is less than the applicable median income specified in 11 U.S.C.
            §1325(b)(4)(A).

             The current monthly income of the debtor(s) is not less than the applicable median income specified in 11 U.S.C.
            §1325(b)(4)(A).

Part 2: Plan Payments and Length of Plan


2.1.        Plan Payments: The future earnings of the debtor(s) are submitted to the supervision and control of the Trustee and the
            debtor(s) (or the debtor's(s’) employer) shall pay to the Trustee the sum of 300/Month . (If the payments change over
            time include the following.) These plan payments change to          on

2.2.        Additional Payments: Additional payments of                  will be made on    from   . (Source)

2.3.        Plan Length: If the debtor's(s') current monthly income is less than the applicable median income specified in 11
            U.S.C.§1325(b)(4)(A) the debtor(s) will make a minimum of 36 monthly payments.
            If the debtor(s)' current monthly income is not less than the applicable median income specified in 11 U.S.C.§1325(b)(4)(A)
            the debtor(s) will make payments for a minimum of 57 months.

Part 3: Treatment of Secured Claims


       From the payments so received, the Trustee shall make disbursements to allowed claims as follows:

3.1.        Long Term Debts: The monthly payments will be made on the following long-term debts (including debts secured by the
            debtor's(s') principal residence): (Payments which become due after the filing of the petition but before the month of the first
            payment designated here will be added to the pre-petition arrearage claim.)

 NAME OF CREDITOR                                            MONTH OF FIRST PAYMENT          MONTHLY PAYMENT        CHECK IF PRINCIPAL
                                                                  UNDER PLAN                     AMOUNT                RESIDENCE
 None

3.2.        Arrearages: After confirmation, distributions will be made to cure arrearages on long term debts (including debts secured by
            the debtor's(s') principal residence) where the last payment is due after the last payment under the plan. If no monthly
            payment is designated, the arrearage claims will be paid after the short term secured debts listed in Section 3.3 and 3.5

 NAME OF CREDITOR                                      ESTIMATED          INTEREST         COLLATERAL                  MONTHLY
                                                       AMOUNT DUE         RATE (if                                     PAYMENT IF ANY
                                                                          applicable)
 -NONE-

3.3.        Claims Not Subject to Cram Down: The following claims are not subject to cram down because debts are secured by a
            purchase money security interest in a vehicle for which the debt was incurred within 910 days of filing the bankruptcy
            petition, or, if the collateral for the debt is any other thing of value, the debt was incurred within 1 year of filing. See §
            1325(a). The claims listed below will be paid in full as allowed.

 NAME OF CREDITOR                                      AMOUNT DUE         INTEREST         COLLATERAL                  MONTHLY
                                                                          RATE                                         PAYMENT
 -NONE-

3.4.        Preconfirmation Adequate Protection: Preconfirmation adequate protection payments will be made to the following
            secured creditors and holders of executory contracts after the filing of a proof of claim by the creditor. These payments will
            be applied to reduce the principal of the claim.

 NAME OF CREDITOR                                                               ADEQUATE PROTECTION AMOUNT
 Lobel Financial Corp                                                           $100.00


GAMB Form 113 Fillable PDF 10/9/2019

Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                          Best Case Bankruptcy
                 Case 20-30201                    Doc 2          Filed 02/26/20 Entered 02/26/20 15:20:00             Desc Main
                                                                    Document    Page 3 of 5

3.5.        Secured Creditors Subject to Cramdown: After confirmation of the plan, the following secured creditors who are subject
            to cramdown, with allowed claims will be paid as follows:

            If the value is less than the amount due, the secured claim is modified to pay the value only as secured.
            If the value is listed as $0.00 the creditor’s allowed claim will be treated as unsecured.
            If the value is greater than or equal to the allowed secured claim, the claim will be paid in full.
            If you do not intend to cram down the claim, enter "debt" as the value.

 NAME OF CREDITOR                                     AMOUNT           VALUE         INTEREST COLLATERAL                   MONTHLY
                                                      DUE                            RATE                                  PAYMENT
                                                                                                                           AMOUNT
 Lobel Financial Corp                                 $12,667.00       10,000.00     4.00%      2007 Chevrolet Taho        $210.00
                                                                                                182596 miles

3.6.        Surrendered Collateral: The following collateral is surrendered to the creditor. If the debtor(s) is surrendering the
            collateral for a specific payment credit or in full satisfaction of the debt, a statement explaining the treatment should be
            indicated in Part 6 Nonstandard Provisions. Upon confirmation of this plan, the stay under § 362(a) will terminate as to the
            collateral only and the stay under § 1301 will terminate in all respects unless the debt is listed as a classified debt in
            Paragraph 5.3 of the plan. An allowed unsecured claim resulting from the disposition(s) of the collateral will be treated as
            unsecured.

 NAME OF CREDITOR                                                                  DESCRIPTION OF COLLATERAL
 -NONE-

3.7.        Debts Paid by Debtor: The following debts will be paid directly by the debtor(s):

 NAME OF CREDITOR                                                                  COLLATERAL
 -NONE-

3.8.        Liens Avoided: The judicial liens or non-possessory, non-purchase security interests that are being avoided are listed in Part
            6 Nonstandard Provisions.

Part 4: Treatment of Fees and Priority Claims


4.1.        Attorney Fees: Attorney fees ordered pursuant to 11 U.S.C. § 507(a)(2) of $3,250.00 to be paid as follows:
            (SELECT ONE)

                Pursuant to the Single Set Fee option in the Administrative Order on Attorney Fees in Chapter 13 Cases.

               Hourly billing: Attorneys are required to file an application for compensation with the Court, including an itemization of
              their time, in accordance with the Administrative Order on Attorney Fees in Chapter 13 Cases.
4.2         Trustee's Fees: Trustee's fees are governed by statute and may change during the course of the case.

4.3.        Domestic Support Obligations: The following domestic support obligations will be paid over the life of the plan as follows:
            These payments will be made simultaneously with payment of the secured debt to the extent funds are available and will
            include interest at the rate of %. (If this is left blank, no interest will be paid.)

 NAME OF CREDITOR                                                                                       PAYMENT AMOUNT
 -NONE-

4.4.        Priority Claims: All other 11 U.S.C. § 507 priority claims, unless already listed under 4.3 will be paid in full over the life of
            the plan as funds become available in the order specified by law.

Part 5: Treatment of Non Priority Unsecured Claims




GAMB Form 113 Fillable PDF 10/9/2019

Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
                 Case 20-30201                    Doc 2          Filed 02/26/20 Entered 02/26/20 15:20:00         Desc Main
                                                                    Document    Page 4 of 5

5.1.        Payment Parameters: Debtor(s) will make payments that will meet all of the following parameters (these are not
            cumulative; debtor(s) will pay the highest of the three)

            (a) Debtor(s) will pay all of the disposable income as shown on Form 122C of 0.00to the nonpriority unsecured creditors in
            order to be eligible for a discharge, unless debtor(s) includes contrary provisions in Part 6 Nonstandard Provisions along with
            sufficient legal reason justifying the excusal from meeting this requirement.

            (b) If the debtor(s) filed a Chapter 7 case, the priority and other unsecured creditors would receive 0.00. Debtor(s) will pay
            this amount to the priority and other unsecured creditors in order to be eligible for discharge in this case.

            (c) The debtor(s) will pay $0.00 to the general unsecured creditors to be distributed prorata.

5.2.        General Unsecured Creditors: General unsecured creditors whose claims are duly proven and allowed will be paid
            (CHOOSE ONLY ONE):

            (a)      % dividend as long as this dividend exceeds the highest amount, if any, shown in paragraph 5.1(a), 5.1(b), or 5.1(c)
            and the debtor(s) makes payment for the applicable commitment period as indicated in Part 2 Section 2.3.

            (b) The debtor(s) anticipates unsecured creditors will receive a dividend of 0 %, but will also pay the highest amount
            shown in paragraph, 5.1(a), 5.1(b) or 5.1(c) above. All creditors should file claims in the event priority and secured creditors
            do not file claims and funds become available for distribution.

5.3.    Classified Unsecured Claims: The following unsecured claims are classified to be paid at 100%. If the debtor(s) is
        proposing to pay less than 100%, or to pay a regular monthly payment, those proposals should appear in Part 6
        Nonstandard Provisions.
 NAME OF CREDITOR                           REASON FOR                      ESTIMATED AMOUNT OF               INTEREST RATE
                                            CLASSIFICATION                  CLAIM                             (IF APPLICABLE)
 -NONE-                                                                                                                     %

5.4.        Executory Contracts and Unexpired Leases: The executory contracts and unexpired leases listed below are assumed. All
            other executory and unexpired leases are rejected. If the debtor(s) wishes to cure a default on a lease, an explanation of those
            payments should be included in Part 6 Nonstandard Provisions.

 NAME OF CREDITOR                                                              DESCRIPTION OF COLLATERAL
 -NONE-

5.5.        Property of the Estate: Unless otherwise ordered by the Court, all property of the estate, whether in the possession of the
            Trustee or the debtor(s), remains property of the estate subject to the Court’s jurisdiction, notwithstanding §1327(b), except
            as otherwise provided in Part 6 Nonstandard Provisions below. Property of the estate not paid to the Trustee shall remain
            in the possession of the debtor(s). All property in the possession and control of the debtor(s) at the time of confirmation shall
            be insured by the debtor(s). The Chapter 13 Trustee will not and is not required to insure such property and has no liability
            for injury to any person, damage or loss to any such property in possession and control of the debtor(s) or other property
            affected by property in possession and control of the debtor(s).

5.6.        Validity of Liens or Preference Actions: Notwithstanding the proposed treatment or classification of any claim in the plan
            confirmed in this case, all lien avoidance actions or litigation involving the validity of liens or preference actions will be
            reserved and can be pursued after confirmation of the plan. Successful lien avoidance or preference action will be grounds for
            modification of the plan.

Part 6: Nonstandard Provisions


            Nonstandard Provisions: Under Bankruptcy Rule 3015(c), all nonstandard provisions are required to be set forth below.
            These plan provisions will be effective only if the applicable box in Part 1 of this plan is checked and any nonstandard
            provisions placed elsewhere in the plan are void.




GAMB Form 113 Fillable PDF 10/9/2019

Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
                 Case 20-30201                    Doc 2          Filed 02/26/20 Entered 02/26/20 15:20:00           Desc Main
                                                                    Document    Page 5 of 5


Part 7: Signatures


7.1.        Certification: The debtor's(s') attorney (or debtor(s), if not represented by an attorney) certifies that all provisions of this
            plan are identical to the Official form of the Middle District of Georgia, except for language contained in Part 6:
            Nonstandard Provisions.

            a) Upon completion of all payments and/or granting of a discharge in this case, all secured creditors that were paid through
            the plan, excluding any long-term debt paid pursuant to Paragraph 3 hereof, shall promptly release all collateral held as
            security on loans, and shall promptly release and/or satisfy all security deeds, security agreements, UCC filings, judgment
            liens, titles, and/or any other lien or claim of any kind against property of Debtor(s). This paragraph shall not apply to any
            secured debt that is not paid through Debtor’s (Debtors’) Chapter 13 Plan.


 Debtors

 /s/ Quoneshia Latrice Hill                                                             February 26, 2020
 Signature of debtor                                                                    Date


 Signature of debtor                                                                    Date

Debtor's(s') Attorney
 /s/ Kathryn A. Brow Aho                                                                February 26, 2020
 Signature of debtor(s) attorney                                                        Date




GAMB Form 113 Fillable PDF 10/9/2019

Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                           Best Case Bankruptcy
